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Form B 250A (12/09)


                          United States Bankruptcy Court
                                                Colorado
                   _______________ District Of _______________
        Matthew Sysum and Kimberly Ann Sysum                                            18-21172-CDP
In re                                             ,             )        Case No.
                  Debtor                                        )
                                                                )        Chapter    7
                                                                )
William Leary and Jan Leary                                     )
                  Plaintiff                                     )
                                                                )
                  v.                                            )        Adv. Proc. No.
                                                                )
Matthew Sysum                                                   )
                  Defendant                                     )


                           SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to
this summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this
summons, except that the United States and its offices and agencies shall file a motion or answer to the
complaint within 35 days.

                  Address of the clerk:        Clerk, U.S. Bankruptcy Court
                                               721 19th Street
                                               Denver, CO 80202



At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

                  Name and Address of Plaintiff's Attorney:               Erik G. Fischer
                                                                          Erik G. Fischer, P.C.
                                                                          125 South Howes Street, Suite 900
                                                                          Fort Collins, CO 80521

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED
TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.


                                                                                        (Clerk of the Bankruptcy Court)

          Date:                                        By:                                     (Deputy Clerk)
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                                   CERTIFICATE OF SERVICE

       I,                                    (name), certify that service of this summons and a copy of
the complaint was made                                (date) by:

       Q       Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
               to:



       Q       Personal Service: By leaving the process with the defendant or with an officer or agent
               of defendant at:



       Q       Residence Service: By leaving the process with the following adult at:



       Q       Certified Mail Service on an Insured Depository Institution: By sending the process by
               certified mail addressed to the following officer of the defendant at:



       Q       Publication: The defendant was served as follows: [Describe briefly]



       Q       State Law: The defendant was served pursuant to the laws of the State of              , as
               follows: [Describe briefly]



        If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.


       Date                                   Signature

               Print Name :

               Business Address:
